(Post .3/26/13)           Case 4:12-cr-00306-KGB Document 383 Filed 07/29/13 Page 1 of 1                       u.fofs~~ RRT
                                                                                                           EASTERN DISTRICT ARKANSAS

                                                IN THE UNITED STATES DISTRICT COURT                   JUL 29 2013
                                                   EASTERN DISTRICT OF ARKANSAS
                                                         WESTERN DIVISION                           ~A~ES~RK
                                                                                                     y      ~                   ~RK
                  UNITED STATES OF AMERICA                                                                    PLAINTIFF

                         vs.                             No.4-: JZ. cR.oo3oto KGB
                                                                                                            DEFENDANT


                                           WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                              AND ENTRY OF PLEA OF NOT GUILTY
                                 (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                          NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                  hereby acknowledges the following:

                  1)     Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                         information in this case. Defendant understands the nature and substance of the charges contained
                         therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                         advised of all of the above by his/her attorney.

                  2)     Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                         for arraignment in open court on this accusation. Defendant further understands that, absent the
                         present waiver, he/she will be so arraigned in open court.




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                                                          ORDER OF COURT

                          The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                          plea of not guilty is entered for the defendant effective this date.

                   Q      The defendant's request to waive appearance at the arraignment ·

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                  cc:    All Counsel of Record
                         U.S. Probation Office
                         U.S. Marshals Service
                         Presiding Magistrate Judge
